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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




 Nicole Massey, et al.,

                                   Plaintiff(s),
 v.                                                    Case No. 2:19−cv−10131−PDB−EAS
                                                       Hon. Paul D. Borman
 Great Lakes Water Authority,

                                   Defendant(s),



                                NOTICE OF MOTION HEARING

   You are hereby notified to appear before District Judge Paul D. Borman at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
Michigan. The following motion(s) are scheduled for hearing:

                Motion for Summary Judgment − #14

      • MOTION HEARING: April 1, 2020 at 02:30 PM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/D Tofil
                                                   Case Manager

Dated: January 15, 2020
